                IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS
                         MARSHALL DIVISION

IARNACH TECHNOLOGIES LTD.,

                    Plaintiff,
v.

CHARTER COMMUNICATIONS, INC.,     Civil Action No. 2:24-cv-00230-JRG
CHARTER COMMUNICATIONS HOLDING
COMPANY, LLC, CHARTER             JURY TRIAL DEMANDED
COMMUNICATIONS OPERATING, LLC,
SPECTRUM MANAGEMENT HOLDING
COMPANY, LLC, and SPECTRUM GULF
COAST, LLC,

                    Defendants.

             PLAINTIFF IARNACH TECHNOLOGIES LTD.’S
     MOTION TO COMPEL DOCUMENT PRODUCTION UNDER P. R. 3-4(a)
         Iarnach respectfully moves the Court for an order compelling Charter 1 to produce source

code, scripts, and any other technical documents sufficient to show Charter’s implementation of

the Accused Instrumentalities2. For about three months, Iarnach has repeatedly asked Charter to

produce this information, yet Charter has not done so. Enough is enough. This Court should

compel Charter to comply with its basic discovery obligations under the Local Rules.

I.       Factual Background

         Charter’s Patent Local Rule 3-4(a) production was due on September 5, 2024. ECF No. 55

at 4. Just prior to that deadline, Iarnach sent Charter a letter reminding it to produce “[d]ocuments

and information sufficient to show in detail the operation of the Accused Functionality, including

but not limited to source code. . . .” Ex. A (E. Enger Aug. 26, 2024 Ltr.). Yet by the September 5 th

deadline, Charter had only produced 41 documents3—none of which included source code, or

explained Charter’s implementation of the Accused Instrumentalities. Rather, these documents

were written by third-party suppliers and just showed equipment capabilities that Charter could or

could not implement.

         On September 18, Iarnach again wrote Charter requesting the immediate production of

Charter’s “source code and/or scripts showing how Charter programs/configures its DPoE



1
  In this Motion, “Charter” refers collectively to Charter Communications, Inc.; Charter
Communications Holding Company, LLC; Charter Communications Operating, LLC; Spectrum
Management Holding Company, LLC; and Spectrum Gulf Coast, LLC.
2
  The terms “Accused Instrumentality” or “Accused Instrumentalities” have the meaning that the
parties have agreed on and the Court endorsed on October 30, 2024. See ECF No. 80 at 5. It
includes: “the functionality necessary for Charter to provide DPoE v2.0 compliant networks to its
customers, including all hardware and software, optical line terminals (OLTs), optical network
units (ONUs)/optical network terminals (ONTs), transport networks, and DOCSIS back office
equipment (e.g. the Operation Support System, OSS).” Id.
3
    Charter had made other productions related to venue discovery.


                                                 1
networks to implement the accused functionality.” Ex. B (E. Enger Sept. 18, 2024 Ltr.). Charter

did not respond. Then on October 30, Iarnach wrote again requesting Charter to comply with Patent

Local Rule 3-4(a) and produce documents showing how its Accused Instrumentalities are

implemented. Ex. C (C. Ruiz Oct. 30, 2024 Ltr.). Charter responded stating that “[a]s its

investigation identifies additional documents, Charter will produce them. . . .” Ex. F (C. Larson’s

Nov. 7, 2024 Ltr.). Finally, on November 8, the parties met and conferred to discuss this issue. But

Charter refused to commit to a date certain by which it would provide the requested technical

documents. So on November 15, Iarnach again requested a date certain for the document

production. Ex. D (C. Ruiz Nov. 15, 2024 Email). Charter could not commit to a date certain, but

instead noted that it “will take us time to gather that information.” Ex. E (C. Larson Nov. 15, 2024

Email).

          Recognizing that this motion to compel was forthcoming, Charter recently produced over

19,000 pages of documents on November 20. However, these documents were nothing more than

reproductions of Charter’s public-facing website. To date, Charter still has not produced source

code, scripts, or any other document sufficient to show Charter’s implementation of the Accused

Instrumentalities.

          Charter’s stated excuse for not timely complying with its discovery obligations is that one

of its in-house legal counsel, Mr. Dan Boglioli, has family medical issues. 4 While Iarnach is

sympathetic, Charter is a large company with many, many employees. In a company that size, it

is unreasonable for one person’s medical issues to indefinitely stymie technical discovery.




4
    Mr. Boglioli explained his family medical issues in detail in a prior declaration. ECF No. 85.


                                                   2
II.    This Court Should Compel Charter To Comply With Local Patent Rule 3-4(a).

       Charter should be ordered to comply with Local Patent Rule 3-4(a) by producing source

code, scripts, and any other technical documents in its possession, custody, or control, that show

Charter’s implementation of the Accused Instrumentalities, i.e., how Charter programs or

configures its DPoE networks to implement the Accused Instrumentalities.

       This Court’s local patent rules require:

       [T]he party opposing a claim of patent infringement must produce or make
       available for inspection and copying: (a) Source code, specifications, schematics,
       flow charts. . ., or other documentation sufficient to show the operation of any
       aspects or elements of an Accused Instrumentality. . .

P. R. 3-4(a). Charter cannot reasonably dispute that Local Patent Rule 3-4(a) requires disclosure

of source code and other documentation describing Charter’s implementation of the Accused

Instrumentalities. Edward D. Ioli Trust v. Avigilon Corp., Case No. 2:10-cv-605-JRG, at *4 (E.D.

Tex. Nov. 16, 2012) (“This District’s P. R. 3-4(a) requires the alleged infringer to produce any and

all documents describing the operation of any aspects or elements of an accused instrumentality.

P. R. 3-4(a) clearly covers source code, regardless of what additional materials may exist to

disclose the functionality of the technology at issue.”). Yet Charter did not timely comply with its

Rule 3-4(a) discovery obligations, and despite months of prodding, Charter has refused to provide

a date certain by which it will produce that source code and documentation.

       For example, on August 26, 2024, before the September 5 th deadline, Iarnach requested

that Charter produce “Documents and information sufficient to show in detail the operation of the

Accused Functionality, but not limited to source code. . . .” Ex. A. After the September 5 th deadline,

Iarnach wrote again requesting Charter to comply with its P. R. 3-4(a) production. Ex. B. On

October 30, 2024, Iarnach wrote again requesting Charter to comply with P. R. 3-4(a). Ex. C.




                                                  3
Charter responded stating that P. R. 3-4(a) “requires only the production of documents ‘sufficient

to show the operation’ of the Accused Instrumentalities.” Ex. F. The parties met and conferred on

November 8, where Iarnach noted that P. R. 3-4(a) requires disclosure of “source code” and that

Charter’s production did not show how Charter implements the Accused Instrumentalities. Ex. G

(C. Ruiz’s Nov. 9, 2024, Email to Charter), at 1. To date, Charter still has not produced any source

code, or other documents detailing how Charter actually implements the Accused

Instrumentalities.

       Charter’s document production is long overdue. The deadline to produce these documents

was September 5, 2024. ECF No. 55 at 4. Charter does not dispute its document production remains

deficient. Charter simply refuses to provide a date certain by which it intends to produce these

documents. Instead, Charter states that given the “upcoming holidays and vacations it will take us

time to gather that information in detail.” Ex. E. But Charter has already had ample time to gather

and produce the requested information. Iarnach needs that information now to prosecute its case.

       Charter’s excuse is unavailing. During the November 8th meet-and-confer, Charter

explained that Mr. Boglioli is the “point-person” within Charter designated to gather these

documents, and that his personal circumstances impede Charter’s ability to comply with its

document production obligations. While Iarnach sympathizes with Mr. Boglioli’s situation,

Charter should find alternative ways to locate these documents. In a company of Charter’s size, it

is unreasonable for one person to bottleneck the entire technical production. Charter has over

100,000 employees. Ex. H (Charter’s website listing 101,100 employees as of 12/31/2023).

Charter has identified in venue discovery dozens of employees who are allegedly knowledgeable

about Charter’s development and implementation of the Accused Instrumentalities. If Charter’s

characterization of these employees is true, then these employees possess most if not all of the



                                                 4
relevant documents and code. Charter should employ all reasonable means to comply with its

discovery obligations in this case, including consulting with these employees about locating the

source code and other technical documents.

III.   Conclusion

       Iarnach respectfully requests that the Court compel Charter to comply with Local P. R. 3-

4(a) by producing source code, scripts, and any other technical documents that shows how Charter

implements the Accused Instrumentalities.



Dated: November 22, 2024                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing document was served on all counsel of record

via email.

                                                     /s/ Carlos I. Ruiz
                                                     Carlos I. Ruiz


                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule CV-7(h), the undersigned certifies that the parties conferred about

this Motion on November 8, 2024. Iarnach was represented by Eric Enger (lead counsel for

Iarnach), Alden Harris, Carlos Ruiz, and Andrea Fair (local counsel for Iarnach). Charter was

represented by Saina Shamilov and Chris Larson. Charter’s lead and local counsel were invited to

participate in the meet-and-confer, but were not present. Charter declined to provide an alternative

date when its lead and local counsel would be available. As described in the motion above, Iarnach

and Charter are conclusively at an impasse, leaving an open issue for the Court to resolve.


                                                     /s/ Carlos I. Ruiz
                                                     Carlos I. Ruiz




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